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                       UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA
_________________________________________
PERSONAL SERVICES CONTRACTOR                )
ASSOCIATION,                                )
                                            )
                                            )
                    Plaintiﬀ.               )    Case No. 1:25-cv-469
                                            )
v.                                          )
                                            )
DONALD TRUMP, et al.,                       )
                                            )
Defendants.                                 )
___________________________________________ )


                                 [PROPOSED] ORDER


        The Court grants Plaintiﬀ’s Motion for a Temporary Restraining Order. ECF No.

6. Defendants shall immediately:


   a.    Return USAID workers employed as personal service contractors (USPSCs) to
         the terms and conditions of employment they enjoyed on January 19, 2025;

   b.    Authorize USPSCs to resume and continue the work they were performing
         before January 20, 2025;

   c.    Rescind any termination-of-contract notices sent to USPSCs since January 20,
         2025;

   d.    Restore USPSCs’ access to U.S. Government facilities, security, email, and
         computer and communications systems and networks;

   e.    Release money to pay, and pay, USPSCs, including for back wages owed and
         for covered expenses they have already incurred but not been reimbursed for,
         consistent with the terms of their contracts and any relevant statutes and
         regulations;
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   f.     Recall all mandatory evacuation orders for USPSCs issued since Jan. 19, 2025,
          unless required for the safety of USPSCs;

   g.     Immediately arrange medevac procedures and other appropriate medical care
          for all pregnant USPSCs in their third trimester and their family members; and

   h.     Cease disclosing USPSCs’ personally identifying information on and remove
          that information from the DOGE website.


        SO ORDERED.



DATED: February __, 2025                        _____________________________

                                                United States District Judge
